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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)
    RAS Citron, LLC
    Authorized Agent for Secured Creditor
    130 Clinton Road, Lobby B, Suite 202
    Fairfield, NJ 07004
    Telephone: 973-575-0707
    Facsimile: 973-404-8886

    Laura Egerman, Esq. (LE-8250)

    In Re:                                                  Case No.:     19-14180-JKS

    Adam Timothy Marchick,                                  Chapter:        7

             Debtor.                                        Hearing Date: April 9, 2019

                                                            Judge:          John K. Sherwood

                  NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

                                        HEARING DATE AND TIME:
                                          April 9, 2019 at 10:00AM

                         ORAL ARGUMENT IS REQUESTED IN THE EVENT
                                OPPOSITION IS TIMELY FILED
     TO:

Debtor-                      Debtor’s Attorney-       Trustee-                       U.S. Trustee-
Adam Timothy Marchick        John F. Murano           Steven P. Kartzman             US Dept of Justice
24 Oak Street - Apt. 2B      Murano & Roth, LLC       Mellinger, Sanders &           Office of the US Trustee
Hackensack, NJ 07601         800 Kinderkamack Rd      Kartzman LLC                   One Newark Center
                             Suite 202N               101 Gibraltar Dr.              Ste 2100
                             Oradell, NJ 07649        Suite 2F                       Newark, NJ 07102
                                                      Morris Plains, NJ 07950

              PLEASE TAKE NOTICE that on April 9, 2019, at 10:00a.m., or as soon thereafter as
     counsel may be heard, RAS Citron, LLC, attorneys for USAA FEDERAL SAVINGS BANK, the
     within creditor ("Creditor"), shall move before the Honorable Judge John K. Sherwood, United
     States Bankruptcy Judge, at 50 Walnut Street, 3rd Floor Newark, N.J. 07102 Courtroom 3D, for
     an Order pursuant to 11 U.S.C. §362(d)(1) and 11 U.S.C. § 1301 granting such Creditor relief from
                                                                                            19-14180-JKS
                                                                                                18-209717
                                                                                          Notice of Motion
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automatic stay or, for costs and disbursements of this action, and for such other and further relief
as to the Court may seem just and proper.

        PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned shall
rely on the accompanying Certification in Support of Motion for Relief. A proposed form of Order
is also being submitted. A Memorandum of Law has not been submitted because the issues raised
by the Motion are not extraordinary or unusual necessitating the filing of legal briefs.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the
Motion shall: (i) be in writing; (ii) specify with particularity the basis of the objection; and (iii) be
filed with the CLERK, UNITED STATES BANKRUPTCY COURT, Martin Luther King,
Jr. Federal Building 50 Walnut Street Newark, NJ 07102, and simultaneously served on
Secured Creditor's counsel, RAS Citron, LLC, 130 Clinton Road, Lobby B, Suite 202 Fairfield,
NJ 07004, so as to be received no later than seven (7) days before the return date set forth herein.

        PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,
the Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a) and the relief
requested may be granted without a hearing.

        PLEASE TAKE FURTHER NOTICE that counsel hereby requests oral argument in
accordance with D.N.J. LBR 9013-1 (f) in the event opposition papers are timely filed.

 DATED: March 15, 2019
                                                      RAS Citron, LLC
                                                      130 Clinton Road, Lobby B, Suite 202
                                                      Fairfield, NJ 07004
                                                      Telephone: 973-575-0707
                                                      Facsimile: 973-404-8886

                                                      By: /s/ Laura Egerman_________
                                                      Laura Egerman, Esquire
                                                      Bar ID: LE-8250
                                                      Email: legerman@rasnj.com




                                                                                              19-14180-JKS
                                                                                                  18-209717
                                                                                            Notice of Motion
